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                                              IN THE UNITED STATES DISTRICT COURT
                                                 fOR THE DISTRICT OF MARYLAND


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       .\\0 ~eWnIClr~ Esphoadt
          ~OcJ(VI]                  en   r
                                          )   c)r20850
       (Full name and addrlss of tlieplainli[f)
                                                                       .
                                      Plaintiff(5)
                                                                                                   JFM 11 V 2350
                                                                       •        Civil No.:                                         _
                                                                                (Leave blank To befilled in by Court.)


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       (Full name and addre.'S of the defendanr(s))                                                                       ~            en=:
                                                                                                          .~ ~~                     ;j~,"J
                                   Defendant(R).                       •                                  •....•••
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                                                              COMPLAINT                                  ..
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                                                                                                         ;-:1 ~                    :"~In
                   I.         Jurisdiction in this case is based on:                                     -       R       \n.I      ~    g
                                                                                                                         Ul        -~:::o
                              o                                                                     .'
                                     Diversity (none of the defendal1ls are residents of the state wnere plaintiff1s a 6
                                                                                                                                   z-~

                                     resident)

                         ~            Federal question (suit is based upon a federal statute or provision of the United
                          /"---State~       Constitution)

                              o      Other (explain)




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                   2.     The facts of this case are:




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                     Case 8:11-cv-02350-JFM Document            COURT
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           3.

           o           Damages in the amount of:

           o
                                    . LI
                       An injunction ordering:
                                        '


           o           Other (explain)




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                                Privacy Rule~ and Judicial Conference PrivacYPl)lic~'

 Under the E-Govemmenl Act and Judicial Conference policy. any paper filed with the eoun should not
 contain an individual's social security number, full birth date. or home address; thc full name of person
 known to be a minor; or 8 complete finaneial account number. Thcse rules address the privacy concerns
 resulting from public access 10 electronic case files.




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